Case 2:18-cv-03893-RGK-AGR Document 54 Filed 02/26/19 Page 1 of 4 Page ID #:320



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16    [Additional counsel appearing on signature page]
17                          UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19
20     Edwardo Munoz, individually and on
       behalf of all others similarly situated,    Case No. 2:18-cv-03893-RGK-AGR
21                               Plaintiff,
22                                                 JOINT REPORT REGARDING
             v.                                    DISCOVERY DISPUTES
23     7-Eleven, Inc., a Texas corporation,             Judge: Hon. R. Gary Klausner
24                                                      Magistrate Judge: Hon. A. Rosenberg
                                 Defendant.
25                                                      Complaint Filed: May 9, 2018
                                                        Trial Date: July 2, 2019
26                                                      Discovery Conf: February 28, 2019
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       JOINT REPORT REGARDING
       DISCOVERY DISPUTES
Case 2:18-cv-03893-RGK-AGR Document 54 Filed 02/26/19 Page 2 of 4 Page ID #:321



  1         The Parties, Edwardo Munoz, on behalf of himself and the Class, and 7-
  2   Eleven, Inc., hereby submit the following Joint Report in advance of the telephonic
  3   discovery conference set for February 28, 2019 at 10:00 a.m.:
  4         The Parties have met and conferred extensively regarding 7-Eleven’s
  5   responses to discovery propounded by Plaintiff and have narrowed their remaining
  6   issues to three disputes:
  7         1.     Plaintiff’s Interrogatory No. 2 & Requests to Produce 5 & 11 regarding
  8   the production of class member identifying information to Plaintiff's Counsel and the
  9   claims administrator (KCC) as opposed to limiting the production of such
10    information to KCC only;
11          2.     Plaintiff’s Request to Produce No. 10 and Deposition Topic 6 regarding
12    7-Eleven's legal department size and budget; and
13          3.     Deposition questions regarding any advice 7-Eleven received from its
14    internal or external counsel regarding the use or editing of its form FCRA
15    background check disclosure.
16
17    Dated: February 26, 2019              Edwardo Munoz, individually and on behalf
                                            of all others similarly situated,
18
19                                    By:    /s/ Steven L. Woodrow
                                            One of Plaintiff’s Attorneys
20
21                                          Mike Arias (CSB #115385)
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       JOINT REPORT REGARDING
       DISCOVERY DISPUTES
Case 2:18-cv-03893-RGK-AGR Document 54 Filed 02/26/19 Page 3 of 4 Page ID #:322



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  9                                     Attorneys for Plaintiff Edwardo Munoz
10
11    Dated: February 26, 2019          7-Eleven, Inc.,
12
                                  By:    /s/ Julie R. Trotter
13                                      One of Defendant’s Attorneys
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22                                      Attorneys for Defendant 7-Eleven, Inc.
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      JOINT REPORT REGARDING
      DISCOVERY DISPUTES
Case 2:18-cv-03893-RGK-AGR Document 54 Filed 02/26/19 Page 4 of 4 Page ID #:323



  1                            CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on February 26, 2019.
  5                                         /s/ Steven L. Woodrow
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      JOINT REPORT REGARDING
      DISCOVERY DISPUTES
